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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY

  TYSHON EDWARDS,                                    :
                                                     :
                                        Plaintiff,   :
                                                     :    Case No. 3:24-cv-06029-ZNQ-JBD
                        v.                           :
                                                     :
  CERTAIN UNDERWRITERS AT                            :
  LLOYD’S, LONDON, SUBSCRIBING TO                    :
  POLICY NO. PK1021612, LLOYD’S                      :
  SYNDICATE 2987,                                    :    NOTICE OF MOTION FOR LEAVE
                                                     :    FOR ADRIAN T. ROHRER TO
                                      Defendant.     :    APPEAR PRO HAC VICE

        PLEASE TAKE NOTICE that Defendant, Certain Underwriters of Lloyd’s London,

 Subscribing to Policy No. PK1021612, Lloyd’s Syndicate 2987 (“Defendant”), by and through

 its undersigned counsel, MacMain Leinhauser PC, shall move on August 5, 2024, or as soon

 thereafter as counsel may be heard, at the Clarkson S. Fisher Building & Courthouse, Trenton,

 New Jersey 08608, for the entry of an order granting leave for Adrian T. Rohrer, Esquire, to

 appear in the above-captioned matter pro hac vice on Defendant’s behalf.

        PLEASE TAKE FURTHER NOTICE that in support of that motion, and pursuant to

 Local Civil Rule 101.1(c), Defendant shall rely upon the Certification of counsel being filed

 herewith. Defendant respectfully submits pursuant to Local Civil Rule 7.1(d)(4) that no brief in

 support of this motion is necessary, because the Certification being filed herewith plainly

 establishes the requirements necessary for the pro hac vice admission of the above counsel.

        PLEASE TAKE FURTHER NOTICE that a proposed order is submitted herewith.
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                                           MacMAIN LEINHAUSER PC


 Date: July 24, 2024                By:    /s/ Brian H. Leinhauser
                                           Brian H. Leinhauser
                                           NJ Attorney I.D. No. 038102006
                                           433 W. Market Street, Suite 200
                                           West Chester, PA 19382
                                           Attorney for Defendant
